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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                           )
                                                    )
                        v.                          )         CASE NOS: 21-CR-678 BAH
                                                    )
GREGORY LAMAR NIX.,                                 )
                                                    )
               Defendant.                           )
                                                    )


                                 MOTION TO WITHDRAW

       COMES NOW, Counsel for Defendant, Lindsey L. Davis, and files this Motion to
Withdraw as Counsel for the Defendant. As grounds therefore, Counsel for Defendant respectfully
states the following:
       1. The Defendant retained the services of Alabama Divorce & Criminal Lawyers, LLC
           for representation in the above referenced case.
       2. Undersigned Counsel is no longer employed by Alabama Divorce & Criminal Lawyers,
           LLC.
       3. Counsel for Defendant has begun new employment and will no longer be primarily
           practicing criminal law. Continued representation in this matter poses a conflict with
           Counsel’s employment and the same was communicated to the Defendant.
       4. Pursuant to the District of Columbia Rules of Professional Conduct and District of
           Columbia Bar Association Ethics Opinion 273, notice was provided to the Defendant
           regarding Counsel’s departure and the Defendant has elected to remain with Alabama
           Divorce & Criminal Lawyers, LLC for representation in this matter. The Defendant has
           communicated his termination of representation with undersigned Counsel by
           indicating his intent to remain with Alabama Divorce & Criminal Lawyers, LLC in
           light of Counsel’s departure from the firm.
       5. Undersigned Counsel has communicated her filing of this Motion to Withdraw with
           the Defendant. The Defendant is aware of, and consents to, undersigned Counsel’s
           withdrawal from this matter.
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       6. Additional Counsel from Alabama Divorce & Criminal Lawyers, LLC has indicated
           they will be making a Pro Hac Vice Application and filing a Notice of Appearance in
           this matter. Additional Counsel from Alabama Divorce & Criminal Lawyers, LLC was
           also present for the Defendant’s plea hearing on December 16, 2023.
       7. Additional Counsel from Alabama Divorce & Criminal Lawyers, LLC is aware of
           upcoming deadlines and the currently scheduled Sentencing date of June 2, 2023.
       8. Undersigned counsel has communicated with local counsel regarding the filing of this
           Motion. Local counsel objects due to additional counsel’s admittance not yet being
           completed.
       9. Undersigned Counsel’s continued representation will result in an unreasonable
           financial burden on undersigned as she is not retained and has been discharged by the
           Defendant. This matter requires significant time and attention, coupled with travel
           outside of undersigned Counsel’s home jurisdiction.
       10. It is within the best interests of the parties, that counsel be withdrawn from this matter.


                                              /s/ Lindsey Davis _________
                                              LINDSEY DAVIS
                                              Formerly of:
                                              Alabama Divorce & Criminal Lawyers, LLC
                                              13521 Old Highway 280, Suite 141
                                              Birmingham, AL 35242
                                              (205) 981-2450


                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2023 I electronically filed the foregoing with the Clerk
of Court using CM/ECF. I also certify that the foregoing document is being served this day on all
counsel of record identified on the attached service list in the manner specified, either via
transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
manner for those counsel or parties who are not authorized to receive electronically Notice of
Electronic filing.
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                           /s/ Lindsey Davis _________
                           LINDSEY DAVIS
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